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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA

Vv
EEE
STANISLAV ROMANYUK,
VADIMS ANANICS,
JANIS UZBALIS,
ERIKS MAMONOVS,

CNC WELD, and
BY TRADE OU

GRAND JURY H-21-1

CRIMINAL NO. 3:22CR110 (VAB) (SDV)
VIOLATIONS:

18 U.S.C. § 371
(Conspiracy)

50 U.S.C. § 4819
(Violation of Export Control Reform Act)

18 U.S.C. § 554
(Smuggling Goods from the United States)

18 U.S.C. § 1001
(False Statements)

18 U.S.C. §:2
(Aiding and Abetting, and Causing an Act To
Be Done)

18 U.S.C. § 1956(h)
(International Money Laundering
Conspiracy)

SUPERSEDING INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

 

Atall times relevant to this Superseding Indictment, the following circumstances pertained:
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Background on the Export Control Reform Act of 2018

1, The Export Control Reform Act of 2018 (“ECRA”) provides, among its stated
policy objectives, that “[t]he national security and foreign policy of the United States require that
the export, reexport, and in-country transfer of items, and specific activities of United States
persons, wherever located, be controlled....” 50 U.S.C. § 4811(2). To that end, the ECRA grants
the President the authority to “control (1) the export, reexport, and in-country transfer of items
subject to the jurisdiction of the United States, whether by United States persons or by foreign
persons; and (2) the activities of United States persons, wherever located, relating to” specific
categories of items and activities. 50 U.S.C. § 4812(a)(1)-(2). The ECRA further grants the
Secretary of Commerce the authority to establish the applicable regulatory framework.

2. Pursuant to that authority, the United States Department of Commerce reviews and
controls the export of certain items, including commodities, software, and technologies, from the
United States to foreign destinations through the Export Administration Regulations (“EAR”), 15
C.F.R. §§ 730-774. In particular, the EAR restrict the export of items that could make a significant
contribution to the military potential of other nations or that could be detrimental to the foreign
policy or national security of the United States. The EAR impose licensing and other requirements
for items subject to the EAR to be lawfully exported from the United States or lawfully reexported
from one foreign destination to another.

as The most sensitive items subject to EAR controls are identified on the Commerce
Control List (“CCL”), published at 15 C.F.R. § 774, Supp. No. 1. Items on the CCL are categorized
by an Export Control Classification Number (“ECCN”), each of which has export control
requirements depending on destination, end use, and end user.

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4, [tis unlawful for a person to willfully violate, attempt to violate, conspire to violate,
or cause a violation of any license, order, regulation, or prohibition issued under the ECRA, 50
U.S.C, § 4819,

a The 500 Series CP WZ Precision Jig Grinder (hereinafter “Jig Grinder’) was subject
to the EAR and classified as ECCN 2B201.c. for nuclear nonproliferation reasons. The Jig Grinder
is a high-precision grinding machine system that is controlled by means of a computer, and it is
capable of generating a wide variety of ground holes, contours, and surfaces through the combined
motion of multiple programmable axes to a position accuracy of 2.5 microns. The Jig Grinder did
not require a license for export to Latvia, but it did require a license for export and reexport to

Russia, because of the Jig Grinder’s potential application in nuclear proliferation and defense
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programs,
Export and Shipping Records
6. Pursuant to United States law and regulation, exporters and shippers or freight

forwarders were required to file certain forms and declarations concerning exports of goods and
technology from the United States. Typically, those filings were filed electronically through the
Automated Export System (“AES”) administered by the United States Department of Homeland
Security (“DHS”), Customs and Border Protection. A Shipper’s Export Declaration (“SED”) was
an official document submitted to DAS in connection with export shipments from the United
States. These forms were used by the United States Bureau of the Census to collect trade statistics
and by the United States Department of Commerce, Bureau of Industry and Security (“BIS”) for

export control purposes.
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be BIS Form 711 was submitted to the United States Department of Commerce by
exporters, shippers, and freight forwarders and required the identification of the end user and end
use of goods being exported from the United States. Every BIS Form 711 included a certification,
which must be adopted by the exporter, shipper, or freight forwarder who prepared and signed the
form, that all of the facts in the BIS Form 711 are true and correct. The BIS Form 711 specifically
advised that the provision of false information on the form could result in possible criminal
penalties.

8. A material part of these export filings was information concerning the end user or
ultimate destination of the export. The identity of the end user, in addition to other information,
was used to determine whether the goods could be exported without any specific authorization
from the United States government; whether the goods could be exported with a specific
authorization or license from the United States Department of Commerce, the United States
Department of State, or the United States Department of Treasury; or whether the goods could not
be exported from the United States under any circumstances.

9. Statements made on these export filings were statements to the United States
government that the transaction occurred as described.

Relevant Individuals, Companies, and Defendants

10. The following individuals, companies, and defendants are relevant to this
Superseding Indictment:

a, the defendant

b. the defendant STANISLAV ROMANYUK is a citizen of Ukraine and a resident of

Estonia;
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the defendant VADIMS ANANICS is a citizen of Latvia;

oO

d. the defendant JANIS UZBALIS is a citizen of Latvia;

e. the defendant ERIKS MAMONOVS is a citizen of Latvia;

f. the defendant (Te.

g. the defendant x is a corporation established in the
ee and under the control
(hi.

h. the defendant CNC WELD is a corporation established in Riga, Latvia, whose Director
is MAMONOVS and whose President is ANANICS;

i. the defendant BY TRADE OU, is an Estonian company established by ROMANYUK,
whose nominal director is Individual A, a citizen of Estonia whose identity is known
to the Grand Jury:

j. Company A is a United States corporation with offices in the District of Connecticut,
who is known to the Grand Jury and who is not a named defendant, and is the
manufacturer and seller of the Jig Grinder; and

k. Company B is a Russian company with offices in Moscow, who is known to the Grand
Jury and who is not a named defendant.

Licensing Requirements and Status
ll. Atno time did MI ROMANYUK, ANANICS, UZBALIS,
MAMONOVS, a rr. CNC WELD, or BY
TRADE OU apply for, receive, or possess a license or authorization from the United States

Department of Commerce to export or reexport the Jig Grinder to Russia.

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12. Based on CNC WELD’s and MAMONOVS’s false representations that, among
other things, the Jig Grinder would be used by CNC WELD in Latvia, the United States

Department of Commerce determined that no license was required to export the Jig Grinder to

Latvia.
COUNT ONE
(Conspiracy)
13. Paragraphs | to 12 are incorporated herein by reference.
14. From at least sometime in 2018, the exact date being unknown to the Grand Jury,

and continuing thereafter until on or about the date of this Superseding Indictment, in the District
of Connecticut and elsewhere, the defendants MM ROMANYUK.
ANANICS, UZBALIS, MAMONOVS, ii!) 7
i. CNC WELD, and BY TRADE OU, together with others both known and unknown to the
Grand Jury, did knowingly combine, conspire, confederate, and agree to commit offenses against
the United States, that is,

a. To willfully cause to be exported and reexported the Jig Grinder from the United States
to Russia without first having obtained the required license or authorization from the
United States Department of Commerce, in violation of Title 50, United States Code,
Section 4819 and Title 15, Code of Federal Regulations, Sections 736.2 and 764.2:

b. To knowingly export and send from the United States the Jig Grinder contrary to law
and regulation of the United States, and to facilitate the transportation, concealment,
and sale of the Jig Grinder, prior to exportation, knowing the same to be intended for
exportation contrary to law and regulation, in violation of Title 18, United States Code,

Section 554; and
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c, To defraud the United States Department of Commerce by interfering with and
obstructing a lawful government function, that is, the enforcement of laws and
regulations prohibiting the export and supply of goods from the United States to
restricted parties and foreign destinations without a license or authorization, by deceit,
craft, trickery, and dishonest means.

Objects of the Conspiracy

15. The objects and purpose of the conspiracy was for the defendants and others known

and unknown to the Grand Jury:

a. To cause others to export and reexport, and aid, abet, counsel, command, and induce
the export and reexport, from the United States to Russia of the Jig Grinder, a dual-use
item controlled on the CCL, without first having obtained a license or authorization
from the United States Department of Commerce to do so, as required by the ECRA
and the EAR;

b. To obtain the Jig Grinder, a dual-use export-controlled item that could be used for
nuclear proliferation in Russia, by filing and causing the filing of false documents with

the United States Department of Commerce; and

ee

To enrich members of the conspiracy through, among other things, the procurement of
the Jig Grinder, a dual-use export-controlled item, for Company B in Russia.
Manner and Means of the Conspiracy
16. | The manner and means by which the defendants and others known and unknown to
the Grand Jury sought to accomplish and did accomplish the objects and purposes of the conspiracy

included the following:
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a.

b.

d.

@

It was part of the scheme that a: electronic communications
to Russian companies offering Jf company ee: a
conduit for obtaining commodities that were restricted and controlled for export to
Russi ne
It was further part of the scheme that Company B, a Russian company known to the

Grand Jury, contracted with BY TRADE OU, who in turn, contracted iit
ee obtain the Jig Grinder, a dual-use export-controlled item, from

the United States to be transported to Latvia and then Estonia and finally to Russia, on
Company B’s behalf;

It was further part of the scheme that Company B provided funds for the purchase of
the Jig Grinder by wire-transferring funds first to BY TRADE OU, which then wire-
transferred funds tp (I T_T

It was further part of the scheme he paid a Latvian
company, CNC WELD, to act as the purported purchaser of the Jig Grinder, with
OO financing the purchase;

It was further part of the scheme that afler MAMONOYS declared to the United States
Department of Commerce that the Jig Grinder would not be reexported from Latvia,
representatives of CNC WELD and EBB t:2.yclicd to the

District of Connecticut to finalize the purchase of the Jig Grinder;
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f. It was further part of the scheme that once the Jig Grinder was shipped from the United

States to Latvia, CNC WELD canceled the purchase contract and directed its rights to

g. It was further part of the scheme that DSSS attempted to

reexport the Jig Grinder from Latvia to Russia without having obtained the required
license or authorization from the United States Department of Commerce;

h. It was further part of the scheme that once an investigation was commenced by Latvian
authorities into the reexport of the Jig Grinder, ANANICS, UZBALIS, and
MAMONOVS provided false statements to Latvian authorities; and

i. It was further part of the scheme that once knowledge of a United States investigation
into the smuggling of the Jig Grinder had been initiated and requests for interviews in
Latvia and Estonia had been made through Mutual Lateral Assistance Treaty requests,
ANANICS, UZBALIS, and MAMONOVS made false statements to Latvian law
enforcement authorities and ROMANYUK made and caused another to make false
statements to law enforcement authorities in Estonia, including false statements about
the reasons the Jig Grinder was purchased, Company B’s identity as the end user of the
Jig Grinder, and the roles of the co-conspirators in the conspiracy.

Overt Acts
i In furtherance of the conspitacy and in order to effect the objects thereof, the

defendants i ROMANYUK, ANANICS, UZBALIS, MAMONOVS,
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and their co-conspirators, did commit, among others, the following overt acts in the District of
Connecticut and elsewhere:

a. On or about November 21, 2018, a Russia-based company controlled by J
[| and known to the Grand Jury, wire transferred € 3,200.00
(approximately USD $3,458) from a Russian bank account to CNC WELD with the
memorandum “Advance Payment for the Invoice.”

b. On or about April 11, 2019, BY TRADE OU sold a Jig Grinder to Company B, a
Russian company known to the Grand Jury, for € 1,400,000 (approximately USD
$1,548,292). The Jig Grinder BY TRADE OU was selling was the same Jig Grinder
that CNC WELD contemporaneously had initiated the purchase of from Company A,
an American company to the Grand Jury.

c, On or about April 18,2019, Company B made a payment of € 710,000 (approximately
USD $767,332) from a Russian bank account to BY TRADE OU bank account
XXXXXXXXXXXKXXXXX7227 as the first agreed-upon payment in the contract for
the sale/purchase of the Jig Grinder.

d. On or about April 26, 2019, MAMONOVS, as Director of CNC WELD, signed letters
that were to be submitted to the United States Department of Commerce stating that
the ultimate destination for the Jig Grinder was Riga, Latvia and that the Jig Grinder
would not be resold.

e. On or about May 24, 2019 and May 29, 2019, Company A and Qa
sex: a contract for the sale of the Jig Grinder for a price of USD
$815,616. Among other things, the contract provided that for export-controlled items

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Company A “will submit the export license application to the US Department of
Commerce on behalf of the end user and will use [its] best efforts to assist in securing

such a license for the end user.”

On or about June 7, 2019, [ telephoned a representative of
Company A asking for Company A’s bank information for the initial wire transfer of
the Jig Grinder purchase price.

On or about June 18, 2019, Company A submitted a license application to the United

States Department of Commerce for the export of the Jig Grinder to Latvia. Included

in the application were letters addressed to the United States Department of Commerce

signed by MAMONOVS as Director of CNC WELD. In these letters, MAMONOVS

represented that CNC WELD in Latvia was the end user of the Jig Grinder and that it

would not sell or reexport the Jig Grinder to another country without the prior written

authorization of the United States Department of Commerce.

Between on or about June 10, 2019 and on or about November 7, 2019,
fF initiated four wire transfers to Company A for the purchase of the

Jig Grinder for a total of 95% of the purchase price: (1) € 222,441.00 (approximately

USD $248,221) on or about June 10, 2019; (2) € 300,000.00 (approximately USD

$326,820) on or about September 12, 2019; (3) € 144,882.00 (approximately USD

$157,457) on or about September 16, 2019; and (4) € 37,073.45 (approximately USD

$39,731) on or about November 7, 2019.

On or about July 22, 2019, BY TRADE OU contracted vi) ii _  __
i. purchase the Jig Grinder for € 1,238,200 (approximately USD $1,338,184).

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p.

Between in or around July 2019 and in or around October 2019, BY TRADE OU

initiated five wire transfer payments totaling € 1,238,200 (approximately USD

$1,338,184) 0 II so: tne Jig Grinder.
On or about August 30, 2019, a representative of Poo and

ANANICS, as arepresentative of CNC WELD, signed a final acceptance contract with
Company A for the purchase of the Jig Grinder.
On or about September 24, 2019, Company A shipped the Jig Grinder to CNC WELD

in Riga, Latvia.

. On or about November 1, 2019, UZBALIS submitted to Latvian authorities false

technical specifications for the Jig Grinder that contained a false signature of a
Company A representative.

On or about December 6, 2019, MAMONOYS, on behalf of CNC WELD, transmitted
an electronic communication to Company A with a letter MAMONOVS had signed on
December 4, 2019, stating that CNC WELD was unable to proceed with the purchase
of the Jig Grinder because the Jig Grinder could not fit in CNC WELD’s plant and that
CNC WELD therefore was transferring its right to sell the Jig Grinder to [I
as

On or about December 6, 2019, iS <.bmitted a request to

Latvian customs seeking to reexport the Jig Grinder to Estonia.
On or about August 31, 2020, ANANICS told Latvian authorities that CNC WELD

purchased the Jig Grinder to manufacture components for medical use.

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q. On or about September 8, 2021, ROMAN YUK caused another person to inform foreign
authorities known to the Grand Jury that ROMANYUK was a contractor for BY
TRADE OU who was facilitating a Russian University’s purchase of the Jig Grinder.

All in violation of Title 18, United States Code, Section 371.

COUNT TWO
(Violation of Export Control Reform Act)
18. Paragraphs 1 to 12 and 14 to 17 above are incorporated herein by reference.
19. On or about September 24, 2019, in the District of Connecticut and elsewhere, the

defendants A ROMANYUK, ANANICS, UZBALIS, MAMONOVS,
ED ©X.¢ WELD, and BY TRADE OU,

aided and abetted by each other and by others known and unknown to the Grand Jury, did willfully
export and cause the export of the Jig Grinder from the United States, knowing the Jig Grinder
would be reexported to an end user in Russia, without first having obtained the required license or
authorization from the United States Department of Commerce.

All in violation of Title 50, United States Code, Section 4819; Title 15, Code of Federal
Regulations, Sections 736.2 and 764.2; and Title 18, United States Code, Section 2.

COUNT THREE
(Smuggling Goods from the United States)

20. Paragraphs | to 12 and 14 to 17 above are incorporated herein by reference.
Bi. On or about September 24, 2019, in the District of Connecticut and elsewhere, the
defendants I ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

Pee, CNC WELD, and BY TRADE OU,

together with others known and unknown to the Grand Jury, did willfully and knowingly export

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and send from the United States, and attempt to export and send from the United States, a Jig
Grinder, contrary to law and regulation of the United States, specifically, Tithe 50, United States
Code, Section 4819 and Title 15, Code of Federal Regulations, Sections 736.2 and 764.2, and did
facilitate the transportation, concealment, and sale of said Jig Grinder, prior to exportation, acting
willfully and knowing the same to be intended for exportation contrary to law and regulation of
the United States, specifically, Title 50, United States Code, Section 4819 and Title 15, Code of
Federal Regulations, Sections 736.2 and 764.2.
All in violation of Title 18, United States Code, Sections 554 and 2.

COUNT FOUR
(International Money Laundering Conspiracy)

22; Paragraphs | to 12 and 14 to 17 above are incorporated herein by reference.
23. From on or about November 21, 2018 through on or about November 7, 2019, the

exact dates being unknown to the Grand Jury, in the District of Connecticut and elsewhere, the

defendants hii ROMANYUK, ANANICS, UZBALIS, MAMONOVS,

together with others known and unknown to the Grand Jury, did knowingly combine, conspire,
and agree with each other and with other persons known and unknown to the Grand Jury to commit
offenses against the United States, in violation of Title 18, United States Code, Section 1956, to

wit:
a. To transport, transmit, and transfer and attempt to transport, transmit, and transfer a
monetary instrument and funds to a place in the United States to and through a place

outside the United States with the intent to promote the carrying on of specified

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unlawful activity, that is, smuggling goods from the United States, in violation of Title
18, United States Code, Section 1956(a)(2)(A); and

b. To knowingly conduct and attempt to conduct financial transactions affecting interstate
and foreign commerce, which transactions involved the proceeds of specified unlawful
activity, that is, smuggling goods from the United States, knowing that the transactions
were designed in whole or in part to conceal and disguise the nature, location, source,
ownership, and control of the proceeds of the specified unlawful activity, and that while
conducting and attempting to conduct such financial transactions, knew that the
property involved in the financial transactions represented the proceeds of some form
of unlawful activity, in violation of Title 18, United States Code, Section
1956(a)(1)(B)(i).

Manner and Means
24. | The manner and means used to accomplish the objectives of the conspiracy
included, among others, the following:

a. ee ic CNC WELD to purchase a Jig Grinder and its directors,
ANANICS and MAMONOVS, falsely claimed that they would not reexport the Jig
Grinder from Latvia;

BY TRADE OU to receive monetary instruments and funds from Company B:

oo and ROMANYUK used ee

and BY TRADE OU’s bank accounts in Europe to transfer monetary instruments and
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funds to a bank account in the United States to pay for the Jig Grinder to conceal the
source, ownership, and location of the purchase monies; and

d. UZBALIS agreed to file false specifications for the Jig Grinder with Latvian authorities
in order to fraudulently cause authorities in Latvia to grant permission to export the Jig
Grinder from Latvia,

All in violation of Title 18, United States Code, Section 1956(h),

COUNT FIVE
(False Statements)

25. Paragraphs | to 12 and 14 to 17 above are incorporated herein by reference.

26. On or about June 18, 2019, in the District of Connecticut and elsewhere, the
defendant ERIKS MAMONOYS did willfully and knowingly make and use a false writing and
document, knowing the same to contain a materially false, fictitious, and fraudulent statement and
entry in a matter within the jurisdiction of the United States Department of Commerce, by creating
a document to be filed with the United States Department of Commerce, at Bridgeport,
Connecticut, in the District of Connecticut, stating that CNC WELD would be the end user of the
Jig Grinder and that the Jig Grinder would not be exported from Latvia, well knowing and
believing that CNC WELD would not be the end user of the Jig Grinder and that the Jig Grinder
would be exported from Latvia.

All in violation of Title 18, United States Code, Sections 1001(a)(3) and 2.

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FORFEITURE ALLEGATION
(Export and Smuggling Offenses)

bts Upon conviction of any of the offenses alleged in Count Two and Count Three of

this Superseding Indictment, the defendants Ls ROMANYUK, ANANICS,

WELD, and BY TRADE OU shall forfeit to the United States of America, pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), all
right, title, and interest in any and all property, real or personal, which constitutes or is derived
from proceeds traceable to the said offense, including but not limited to an interest up to the amount
of € 340.000 in Nextpay Account No. LTXxxxxxxxxxxxxx1211, held in the name of BY TRADE
OU,

28. If any of the above-described forfeitable property, as a result of any act or omission
of the defendants, cannot be located upon the exercise of due diligence, has been transferred, sold
to or deposited with a third party, has been placed beyond the jurisdiction of the court, has been
substantially diminished in value or has been commingled with other property that cannot be
divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States
Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek
forfeiture of any other property of the defendants up to the value of the forfeitable property
described above.

All in accordance with Title 18, United States Code, Section 981(a)(1)(C); Title 21, United
States Code, Section 853; Title 28, United States Code, Section 2461(c); and Rule 32.2(a) of the

Federal Rules of Criminal Procedure.

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FORFEITURE ALLEGATION
(Money Laundering Offense)

29, Upon conviction of the money laundering offense alleged in Count Four of this

Superseding Indictment, the defendants yoy ROMANYUK, ANANICS,

WELD, and BY TRADE OU shall forfeit to the United States of America, pursuant to Title 18,
United States Code, Section 982(a)(1), all right, title, and interest in any and all money and other
property involved in the offense, in violation of Title 18, United States Code, Section 1956(h), and
all property traceable to such property, including but not limited to an interest up to the amount of
€ 340,000 in Nextpay Account No, L'TxXxxxxxxxxxxxxx1211, held in the name of BY TRADE
OU.

30. [f any of the above-described forfeitable property, as a result of any act or omission
of the defendants, cannot be located upon the exercise of due diligence, has been transferred, sold
to, or deposited with a third party, has been placed beyond the jurisdiction of the court, has been
substantially diminished in value, or has been commingled with other property which cannot be
divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States
Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b), to seek
forfeiture of any other property of said defendants up to the value of the forfeitable property

described above.

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All in accordance with Title 18, United States Code, Section 982(a)(1); Title 21, United

States Code, Section 853; and Rule 32.2(a) of the Federal Rules of Criminal Procedure.

 

UNITED STATES OF AMERICA

VANESSA ROBERTS AVERY
UNITED STATES ATTORNEY

ef 2. too

RAHUL KALE
ASSISTANT UNITED STATES ATTORNEY

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KONSTANTIN LANTSMAN
ASSISTANT UNITED STATES ATTORNEY

 

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MATTHEW ANZALDI ~
TRIAL ATTORNEY — DOJ NATIONAL SECURITY DIVISION

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